Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 1 of 33 Page ID #:397



   1   Matthew C. Bernstein, Bar No. 199240
       MBernstein@perkinscoie.com
   2   PERKINS COIE LLP
       1888 Century Park E., Suite 1700
   3   Los Angeles, CA 90067
       Telephone: 310.788.9900
   4   Facsimile: 310.788.3399
   5   Patrick J. McKeever, Bar No. 268763
       PMcKeever@perkinscoie.com
   6   PERKINS COIE LLP
       11452 El Camino Real, Suite 300
   7   San Diego, CA 92130-2594
       Telephone: 858.720.5700
   8   Facsimile: 858.720.5799
   9   Attorneys for Defendant
       NETFLIX, INC.
  10
                            UNITED STATES DISTRICT COURT
  11
                           CENTRAL DISTRICT OF CALIFORNIA
  12
                           (SOUTHERN DIVISION - SANTA ANA)
  13
  14
       UNILOC 2017 LLC,                       Case No. 8:18-cv-02055-JVS-DFMx
  15
                          Plaintiff,          DEFENDANT NETFLIX, INC.’S
  16                                          NOTICE OF MOTION AND
             v.                               MOTION TO DISMISS FIRST
  17                                          AMENDED COMPLAINT;
       NETFLIX, INC.,                         MEMORANDUM OF POINTS AND
  18                                          AUTHORITIES IN SUPPORT
                         Defendant.           THEREOF
  19
                                              Date:     April 15, 2019
  20                                          Time:     1:30 p.m.
                                              Judge:    Honorable James V. Selna
  21
                                              Room:     10C
  22
                                              Amended Complaint Filed: March 4,
  23                                          2019
  24
  25
  26
  27
  28

                                              NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 2 of 33 Page ID #:398



   1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         Please take notice that on April 15, 2019 at 1:30 p.m., or as soon thereafter as
   3   counsel may be heard, in the Courtroom of the Honorable James V. Selna, 411
   4   West Fourth Street, Court Room 10C, Santa Ana, CA 92701, Defendant Netflix,
   5   Inc. (“Netflix”), by and through its attorneys, will and hereby does move this Court
   6   to dismiss Plaintiff Uniloc 2017 LLC’s First Amended Complaint for failure to
   7   state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6).
   8         This Motion is made following the conference of counsel pursuant to Local
   9   Rule 7-3, which took place on March 7, 2019.
  10
  11   DATED: March 18, 2019                    PERKINS COIE LLP
  12
                                                By: /s/ Patrick J. McKeever
  13                                               Patrick J. McKeever
  14                                                Attorneys for Defendant
                                                    NETFLIX, INC.
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                 NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 3 of 33 Page ID #:399



   1                                        TABLE OF CONTENTS
   2
                                                                                                                 Page
   3   I.     INTRODUCTION ........................................................................................... 1
   4   II.    FACTUAL BACKGROUND ......................................................................... 2
   5   III.   LEGAL STANDARDS ................................................................................... 2
   6          A.  Dismissal Under Rule 12(b)(6) ............................................................. 2
              B.  Ineligible Subject Matter Under 35 U.S.C. § 101................................. 3
   7   IV.    ARGUMENT .................................................................................................. 5
   8          A.  The ’609 Patent Claims Patent-Ineligible Subject Matter .................... 5
   9              1.     The ’609 Patent is Directed to an Abstract Idea ......................... 6
                  2.     The ’609 Patent Lacks an Inventive Concept ............................. 7
  10              3.     Uniloc Has Failed to Plead Facts Sufficient to Defeat a
  11                     Motion to Dismiss the ’609 Patent ........................................... 10
              B.  The ’229 Patent Claims Patent-Ineligible Subject Matter .................. 12
  12              1.     The ’229 Patent is Directed to an Abstract Idea ....................... 14
  13              2.     The ’229 Patent Lacks an Inventive Concept ........................... 15
  14              3.     Uniloc Fails to Plead Facts Sufficient to Defeat a Motion
                         to Dismiss the ’229 Patent ........................................................ 18
  15          C.  The ’005 Patent Claims Patent-Ineligible Subject Matter .................. 18
  16              1.     The ’005 Patent is Directed to an Abstract Idea ....................... 19
                  2.     The ’005 Patent Lacks an Inventive Concept ........................... 21
  17              3.     Uniloc Fails to Plead Facts Sufficient to Defeat a Motion
  18                     to Dismiss the ’005 Patent ........................................................ 24
       V.     CONCLUSION ............................................................................................. 25
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                -i-
                                                                NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 4 of 33 Page ID #:400



   1                                        TABLE OF AUTHORITIES
   2
                                                                                                                       Page
   3   CASES
   4
       Affinity Labs of Tex., LLC v. DIRECTV, LLC,
   5      838 F.3d 1253 (Fed. Cir. 2016) .................................................................... passim
   6   Alice Corp. Pty. Ltd. v. CLS Bank Int’l.,
   7      573 U.S. 208 (2014) ..................................................................................... passim

   8   Ashcroft v. Iqbal,
          556 U.S. 662 (2009) .............................................................................. 2, 3, 12, 18
   9
  10   Automated Tracking Sols., LLC v. Coca-Cola Co.,
          723 F. App’x 989 (Fed. Cir. 2018) ........................................................................ 4
  11
       Bell Atl. Corp. v. Twombly,
  12
          550 U.S. 544 (2007) .............................................................................................. 2
  13
       BSG Tech LLC, v. Buyseasons, Inc.,
  14     899 F.3d 1281 (Fed. Cir. 2018) ......................................................... 15, 16, 22, 24
  15
       BuySAFE v. Google, Inc.,
  16     765 F.3d 1350 (Fed. Cir. 2014) ........................................................................... 17
  17   Cellspin Soft, Inc. v. Fitbit, Inc.,
  18      316 F. Supp. 3d 1138 (N.D. Cal. 2018)................................................................. 5
  19   Cellular Commc’ns Equip. LLC v. AT&T Inc.,
          No. 2:15-cv-00576-RWS-RSP, 2017 WL 2984074 (E.D.
  20
          Tex. June 27, 2017) ............................................................................................... 5
  21
       Clarilogic, Inc. v. FormFree Holdings Corp.,
  22      681 F. App’x 950 (Fed. Cir. 2017) ...................................................................... 21
  23
       Cleveland Clinic Found. v. True Health Diagnostics LLC,
  24      859 F.3d 1352 (Fed. Cir. 2017) ................................................................. 4, 15, 23
  25   Consumer 2.0, Inc. v. Tenant Turner, Inc.,
  26     343 F. Supp. 3d 581 (E.D. Va. 2018) .................................................................... 5
  27
  28
                                                                  -i-
                                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 5 of 33 Page ID #:401



   1                                          TABLE OF AUTHORITIES
   2                                                (continued)
                                                                                                                             Page
   3   Content Extraction & Transmission LLC v. Wells Fargo Bank,
   4     N.A.,
         776 F.3d 1343 (Fed. Cir. 2014) ............................................................................. 4
   5
       Elec. Power Grp., LLC v. Alstom S.A.,
   6
          830 F.3d 1350 (Fed. Cir. 2016) ................................................................. 3, 20, 22
   7
       Fayer v. Vaughn,
   8     649 F.3d 1061 (9th Cir. 2011) ......................................................................... 3, 12
   9
       Genetic Techs. Ltd. v. Merial L.L.C.,
  10     818 F.3d 1369 (Fed. Cir. 2016) ............................................................................. 4
  11   In re TLI Commc’ns LLC Patent Litig.,
  12       823 F.3d 607 (Fed. Cir. 2016) ............................................................................... 7

  13   Intellectual Ventures I LLC v. Erie Indem. Co.,
          850 F.3d 1315 (Fed. Cir. 2017) ............................................................................. 7
  14
  15   Intellectual Ventures I LLC v. Symantec Corp.,
          838 F.3d 1307 (Fed. Cir. 2016) ........................................................................... 24
  16
       Internet Patents Corp. v. Active Network, Inc.,
  17
          790 F.3d 1343 (Fed. Cir. 2015) ............................................................................. 3
  18
       Interval Licensing LLC v. AOL, Inc.,
  19      896 F.3d 1335 (Fed. Cir. 2018) ..................................................................... 20, 21
  20
       Maxell, Ltd. v. Fandango Media, LLC,
  21     No. CV 17-07534 AG, 2018 WL 4502492 (C.D. Cal. Sept.
  22     11, 2018) ................................................................................................................ 4

  23   Maxon, LLC v. Funai Corp., Inc.,
         726 F. App’x 797 (Fed. Cir. 2018) ........................................................................ 4
  24
  25   Mayo Collaborative Servs. v. Prometheus Labs., Inc.,
         566 U.S. 66 (2012) ....................................................................................... passim
  26
       Mendiondo v. Centinela Hosp. Med. Ctr.,
  27     521 F.3d 1097 (9th Cir. 2008) ............................................................................... 2
  28
                                                                     -ii-
                                                                     NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 6 of 33 Page ID #:402



   1                                         TABLE OF AUTHORITIES
   2                                               (continued)
                                                                                                                          Page
   3   OIP Techs. Inc. v. Amazon.com, Inc.,
   4     788 F.3d 1359 (Fed. Cir. 2015) ......................................................................... 4, 9

   5   RecogniCorp, LLC v. Nintendo Co., Ltd.,
          855 F.3d 1322 (Fed. Cir. 2017) ..................................................................... 12, 18
   6
   7   SAP Am., Inc. v. InvestPic, LLC,
         898 F.3d 1161 (Fed. Cir. 2018) ........................................................................... 25
   8
       Secure Mail Sols. LLC v. Universal Wilde, Inc.,
   9
          169 F. Supp. 3d 1039 (C.D. Cal. 2016) ................................................................. 4
  10
       Synopsys, Inc. v. Mentor Graphics Corp.,
  11      839 F.3d 1138 (Fed. Cir. 2016) ........................................................................... 11
  12
       TriPlay, Inc. v. WhatsApp Inc.,
  13      C.A. No. 13–1703–LPS–CJB, 2018 WL 1479027 (D. Del.
          Mar. 27, 2018) ....................................................................................................... 5
  14
  15   TS Patents LLC v. Yahoo! Inc.,
          731 F. App’x 978 (Fed. Cir. 2018), petition for reh’g en
  16      banc denied, No. 2017-2625 (Fed. Cir. Sept. 25, 2018) ....................................... 4
  17
       Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC,
  18     874 F.3d 1329 .......................................................................................... 11, 17, 20
  19   Ultramercial, Inc. v. Hulu, LLC,
  20      772 F.3d 709 (Fed. Cir. 2014) ................................................................ 7, 8, 9, 14
  21   Uniloc USA, Inc. v. HTC Am., Inc.,
  22     No. C17-1558JLR, 2018 WL 3008870 (W.D. Wash. June
         15, 2018) .............................................................................................. 5, 12, 18, 25
  23
       Voit Techs., LLC v. Del-Ton, Inc.,
  24      No. 2018-1536, 2019 WL 495163 (Fed. Cir. Feb. 8, 2019)................................ 12
  25
  26
  27
  28
                                                                   -iii-
                                                                    NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 7 of 33 Page ID #:403



   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         In 2014, the Supreme Court clarified the law of patent eligibility in Alice
   4   Corporation v. CLS Bank, holding that an abstract idea implemented on a general-
   5   purpose computer is not eligible for a patent under 35 U.S.C. § 101. Since that
   6   time, courts across the nation have invalidated scores of software patents for failing
   7   to pass muster under Alice. The Alice test requires two steps: first, the claims of
   8   the patent are analyzed to determine whether they are directed to an abstract idea.
   9   If so, the claims are then analyzed to determine whether they contain an inventive
  10   concept that transforms the claims into a patent-eligible application. The Uniloc
  11   patents at issue in this motion fail both steps and are thus ineligible.
  12         The ’609 patent claims the concept of timing elapsed media
  13   playback. People have been timing events since Galileo timed his pendulum, and
  14   timing media playback instead of pendulums is no different. To this abstract idea,
  15   Uniloc adds only conventional computer functionality, such as measuring the time
  16   with a generic program, transmitting timing data across a network, and storing the
  17   data for later retrieval. These conventional features do not constitute an inventive
  18   concept, and the ’609 patent is thus ineligible for patenting.
  19         The ’229 patent is directed to the abstract idea of chunking an image.
  20   Chunking is a widely used simplification technique that deals with things in chunks
  21   rather than individually. The ’229 patent combines that abstract idea with an
  22   admittedly conventional technique used to separate the background from the
  23   foreground in an image. The claims recite nothing inventive and are thus ineligible.
  24         The ’005 patent is directed to the abstract idea of concurrent motion
  25   estimation. Making matters worse, the ’005 patent attempts to cover all possible
  26   ways of accomplishing concurrent motion estimation rather than any purportedly
  27   inventive approach described in the patent. The claims of the ’005 patent are thus
  28   drawn to the abstract idea itself and are patent-ineligible.
                                                   -1-
                                                   NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 8 of 33 Page ID #:404



   1          In response to Netflix’s original motion to dismiss, Uniloc filed an amended
   2   complaint with additional statements from the patent specifications and bald
   3   assertions as to inventive concepts that persons of ordinary skill in the art would
   4   purportedly recognize in the patents. No amount of conclusory legal allegations
   5   can generate an inventive concept where none actually exists in the patent claims,
   6   however, and Uniloc’s allegations do not make the claims patent eligible.
   7   II.    FACTUAL BACKGROUND
   8          Uniloc filed this lawsuit on November 17, 2018, accusing Netflix of
   9   infringing U.S. Patent Nos. 8,407,609 (the “’609 patent”); 6,584,229 (the “’229
  10   patent”); and 6,519,005 (the “’005 patent”) (collectively, “patents-in-suit”).
  11   McKeever Decl., Ex. C (’609 patent); Ex. D (’229 patent); Ex. E (’005 patent).
  12   Netflix moved to dismiss and Uniloc filed an amended complaint on March 4,
  13   2019. McKeever Decl., Ex. B (“FAC”). Uniloc alleges Netflix infringes the ’609
  14   patent by measuring and storing the time that a user watches a video. Id. at ¶¶ 93-
  15   106. Uniloc alleges that Netflix infringes the ’229 patent by encoding video using
  16   the VP9 video coding format. Id. at ¶¶ 61-78. Uniloc further alleges that Netflix
  17   infringes the ’005 patent by encoding video in a manner that is compliant with the
  18   H.264 standard. Id. at ¶¶ 32-45.
  19   III.   LEGAL STANDARDS
  20          A.    Dismissal Under Rule 12(b)(6)
  21          Dismissal under Federal Rule of Civil Procedure 12(b)(6) is proper where a
  22   complaint lacks (1) a cognizable legal theory or (2) sufficient facts to support a
  23   cognizable legal theory. Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097,
  24   1104 (9th Cir. 2008). Under the heightened pleading standards of Bell Atl. Corp. v.
  25   Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009), a
  26   plaintiff must allege “enough facts to state a claim to relief that is plausible on its
  27   face.” Twombly, 550 U.S. at 570. Labels, conclusions, and “a formulaic recitation
  28   of the elements of a cause of action will not do.” Id. at 555. Similarly, courts “are
                                                   -2-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 9 of 33 Page ID #:405



   1   not bound to accept as true a legal conclusion couched as a factual allegation.”
   2   Iqbal, 556 U.S. at 678; see also Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir.
   3   2011) (Courts need not “assume the truth of legal conclusions merely because they
   4   are cast in the form of factual allegations.”).
   5         B.     Ineligible Subject Matter Under 35 U.S.C. § 101
   6         Valid patents may be issued only for a “new and useful process, machine,
   7   manufacture, or composition of matter, or any new and useful improvement
   8   thereof.” 35 U.S.C. § 101. Laws of nature, natural phenomena, and—importantly
   9   for this case—abstract ideas are not patentable. Mayo Collaborative Servs. v.
  10   Prometheus Labs., Inc., 566 U.S. 66, 70 (2012); Alice Corp. Pty. Ltd. v. CLS Bank
  11   Int’l., 573 U.S. 208, 216 (2014).
  12         In Alice, the Supreme Court outlined a two-prong framework for determining
  13   whether claimed subject matter is patentable under § 101. 573 U.S. at 217-18
  14   (citing Mayo, 566 U.S. at 77-79). At step one, the court determines whether a claim
  15   is directed to an abstract idea. Id. at 217. To make this first determination, courts
  16   consider the “focus” or “basic character” of the claims. See Elec. Power Grp., LLC
  17   v. Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016); Internet Patents Corp. v.
  18   Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015).
  19         If the claims are found to be directed to an abstract idea, the second step
  20   requires determining whether the claims include an “inventive concept,” that is,
  21   some additional element or combination of elements “sufficient to ensure that the
  22   patent in practice amounts to significantly more than a patent upon the [ineligible
  23   concept] itself.” Alice, 573 U.S. at 217-18 (quoting Mayo, 566 U.S. at 72-73)
  24   (alterations in original). In Alice, the Supreme Court explained that “wholly
  25   generic computer implementation is not generally the sort of ‘additional featur[e]’
  26   that provides any ‘practical assurance that the process is more than a drafting effort
  27   designed to monopolize the [abstract idea] itself.’” Id. at 223-24 (quoting Mayo,
  28   556 U.S. at 77) (alterations in original). If the claims lack an inventive concept
                                                   -3-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 10 of 33 Page ID #:406



   1    “sufficient to ‘transform’ the claimed abstract idea into a patent-eligible
   2    application,” they are patent-ineligible and invalid under § 101. Id. at 221 (quoting
   3    Mayo, 556 U.S. at 72, 79).
   4          Where claims are substantially similar and linked to the same abstract idea,
   5    courts may focus their analysis on a representative claim. Cleveland Clinic Found.
   6    v. True Health Diagnostics LLC, 859 F.3d 1352, 1360 (Fed. Cir. 2017); Maxell,
   7    Ltd. v. Fandango Media, LLC, No. CV 17-07534 AG (SSx), 2018 WL 4502492, at
   8    *3 (C.D. Cal. Sept. 11, 2018).
   9          Patent eligibility under 35 U.S.C. § 101 is a question of law that may be
  10    addressed through a Rule 12(b)(6) motion. See, e.g., Genetic Techs. Ltd. v. Merial
  11    L.L.C., 818 F.3d 1369, 1373 (Fed. Cir. 2016); Secure Mail Sols. LLC v. Universal
  12    Wilde, Inc., 169 F. Supp. 3d 1039, 1045 (C.D. Cal. 2016). When a complaint
  13    asserts a patent directed to ineligible subject matter, it fails to state a plausible claim
  14    for relief and should be dismissed. See, e.g., OIP Techs. Inc. v. Amazon.com, Inc.,
  15    788 F.3d 1359, 1360 (Fed. Cir. 2015); Content Extraction & Transmission LLC v.
  16    Wells Fargo Bank, N.A., 776 F.3d 1343, 1345 (Fed. Cir. 2014).
  17          Although patent eligibility “may contain underlying questions of fact,”
  18    district courts have dismissed cases based on a § 101 analysis and the Federal
  19    Circuit has affirmed district courts’ conclusions of patent ineligibility at the
  20    pleadings stage. Automated Tracking Sols., LLC v. Coca-Cola Co., 723 F. App’x
  21    989, 992, 995 (Fed. Cir. 2018) (affirming grant of judgment on the pleadings of
  22    patent ineligibility because the complaint and specification failed to support the
  23    contention that the patent involved a developing technology instead of well-
  24    understood, routine, and conventional systems); see also Maxon, LLC v. Funai
  25    Corp., Inc., 726 F. App’x 797, 798 (Fed. Cir. 2018) (affirming the district court’s
  26    dismissal of the case after finding the asserted patents invalid under § 101); TS
  27    Patents LLC v. Yahoo! Inc., 731 F. App’x 978, 979 (Fed. Cir. 2018) (same),
  28    petition for reh’g en banc denied, No. 2017-2625 (Fed. Cir. Sept. 25, 2018);
                                                     -4-
                                                   NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 11 of 33 Page ID #:407



   1    Cellspin Soft, Inc. v. Fitbit, Inc., 316 F. Supp. 3d 1138, 1153-54 (N.D. Cal. 2018)
   2    (granting motion to dismiss because patentee’s assertion of the inventiveness of the
   3    claimed technology was unsupported by the specification); Uniloc USA, Inc. v.
   4    HTC Am., Inc., No. C17-1558JLR, 2018 WL 3008870, at *9 (W.D. Wash. June 15,
   5    2018) (“Simply stating that the claimed method and systems were not conventional
   6    at the time of the patent application does not make it so, and the court need not
   7    credit such conclusory statements.”). Importantly, a patentee cannot manufacture
   8    “inventive concepts” that the inventors did not recognize and disclose in the
   9    specification. See, e.g., TriPlay, Inc. v. WhatsApp Inc., C.A. No. 13–1703–LPS–
  10    CJB, 2018 WL 1479027, at *11 (D. Del. Mar. 27, 2018) (granting motion to
  11    dismiss where specification did not disclose function of allegedly inventive concept
  12    or its advantage over prior art); Consumer 2.0, Inc. v. Tenant Turner, Inc., 343 F.
  13    Supp. 3d 581, 593 (E.D. Va. 2018) (“[I]t is not evident from the ’590 patent
  14    specifications that there is any inventive feature used in an unconventional
  15    manner.”); Cellular Commc'ns Equip. LLC v. AT&T Inc., No. 2:15-cv-00576-RWS-
  16    RSP, 2017 WL 2984074, at *4, n.1 (E.D. Tex. June 27, 2017) (rejecting argument
  17    that a feature was inventive where the specification did not “reflect such an insight”
  18    or explain how the feature was an advance over prior art).
  19    IV.   ARGUMENT1
  20          A.     The ’609 Patent Claims Patent-Ineligible Subject Matter
  21          The ’609 patent claims the abstract idea of measuring elapsed time. To
  22    implement this idea, the ’609 patent claims the use of an “applet”—a generic
  23    program—that measures how long a user has been watching a video and transmits
  24    data about the elapsed time across the Internet to a remote general-purpose
  25    computer, which stores the elapsed time. Because the ’609 patent uses routine and
  26
        1
  27     For the Court’s benefit, Netflix notes that the ’609 patent and ’005 patent-specific
        arguments herein are similar to those included in the Hulu and Roku motions to
  28    dismiss filed on March 18, 2019.
                                                  -5-
                                                 NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 12 of 33 Page ID #:408



   1    conventional computer functions to implement its abstract idea, it is ineligible for
   2    patent protection.
   3          The ’609 patent issued on March 26, 2013 with one independent claim and
   4    two dependent claims. It describes the purported invention as a method for using a
   5    timer applet to track a user’s streaming of a “digital media presentation” displayed
   6    on a web page. ’609 patent at 2:14-34 (“Summary of the Preferred Embodiments”).
   7    The purported utility of the claimed subject matter is in the data collected from
   8    tracking the user, which the patent alleges “allows for an increasing scale of
   9    payments for advertising displayed on a given page correspondent to how long a
  10    viewer or viewers remain, or typically remain, on that particular page or like
  11    pages.” Id. at 7:49-50. Notably, the claims are silent as to this alleged benefit.
  12          Claim 1, the ’609 patent’s only independent claim, is representative. See
  13    McKeever Decl., Ex. A (hereinafter, “Claim Listing”) at 1.
  14                 1.      The ’609 Patent is Directed to an Abstract Idea
  15          Measuring elapsed time is an ancient concept. Historical records in athletic
  16    contests, such as the fastest person to run a mile, have been kept since the mid-
  17    1800s, when timekeepers would record the measurements by hand. Even
  18    measuring and recording elapsed media playback time—which is all that Uniloc
  19    claims—remains old. VCRs had timers that showed how long viewers were
  20    watching videotapes. Home-recordable videotape labels contained multiple lines so
  21    that any user could record start and stop times for programs and access them more
  22    easily.
  23          When audiovisual content reached the digital realm, people still timed
  24    playback: a timer display on a CD player or laserdisc player measured and told the
  25    user how much time had been spent listening to music or watching movies. When
  26    general purpose computers began to serve as media centers, the media programs—
  27    such as Windows Media Player or Apple QuickTime—timed user playback of local
  28    media, such as songs and videos. The ’609 patent claims only this concept.
                                                   -6-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 13 of 33 Page ID #:409



   1          Measuring elapsed time is a fundamentally abstract idea. Measuring elapsed
   2    time of a generic technology—digital media presentations, i.e., video—or within a
   3    generic technological environment—such as one requiring sending, receiving, and
   4    storing the measurements—is insufficient to make the claims non-abstract. E.g.,
   5    Intellectual Ventures I LLC v. Erie Indem. Co., 850 F.3d 1315, 1330 (Fed. Cir.
   6    2017) (“[A]s we have previously observed, an abstract idea does not become
   7    nonabstract by limiting the invention to a particular field of use or technological
   8    environment, such as the Internet.”) (citation and internal quotation marks omitted);
   9    In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 612-13 (Fed. Cir. 2016)
  10    (storing data in organized manner held abstract).
  11                 2.     The ’609 Patent Lacks an Inventive Concept
  12                        a.        Claim 1
  13          Nothing in the limitations of claim 1, viewed individually or as an ordered
  14    combination, provides an inventive concept sufficient to transform the abstract idea
  15    into a patent-eligible invention. The crux of the ’609 patent is the use of a generic
  16    timing program to measure elapsed time viewing a program, and then receiving and
  17    recording the resulting data. This is nothing more than implementing an ancient
  18    human practice into a generic computer environment, and it is accordingly
  19    ineligible for patenting. “[T]he mere recitation of a generic computer cannot
  20    transform a patent-ineligible abstract idea into a patent-eligible invention.” Alice,
  21    573 U.S. at 223.
  22          The Federal Circuit’s decision in Ultramercial, Inc. v. Hulu, LLC is squarely
  23    on point. 772 F.3d 709 (Fed. Cir. 2014). The Ultramercial court analyzed an
  24    eleven-element claim, also coincidentally related to monetizing viewable content,
  25    that included the steps of:
  26          (1) receiving copyrighted media from a content provider; (2) selecting
  27          an ad after consulting an activity log to determine whether the ad has
  28          been played less than a certain number of times; (3) offering the media
                                                   -7-
                                                 NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 14 of 33 Page ID #:410



   1          for sale on the Internet; (4) restricting public access to the media; (5)
   2          offering the media to the consumer in exchange for watching the
   3          selected ad; (6) receiving a request to view the ad from the consumer;
   4          (7) facilitating display of the ad; (8) allowing the consumer access to the
   5          media; (9) allowing the consumer access to the media if the ad is
   6          interactive; (10) updating the activity log; and (11) receiving payment
   7          from the sponsor of the ad.
   8    Id. at 712.
   9          Despite the “degree of particularity” added by some of the limitations—
  10    something absent from the ’609 patent claims—the Federal Circuit nevertheless
  11    found the claim unpatentable as abstract and non-inventive. Id. at 717. Most of the
  12    steps were directed to the abstract idea of “showing an advertisement before
  13    delivering free content,” and the remaining steps were either “insignificant data-
  14    gathering steps” (such as consulting and updating an activity log) or “insignificant
  15    pre-solution activity” (such as restricting public access). Id. at 715-16. Moreover,
  16    the steps were “not tied to any particular novel machine or apparatus, only a general
  17    purpose computer.” Id. at 716.
  18          Just as in Ultramercial, claim 1 of the ’609 patent recites an abstract idea
  19    along with a host of limitations requiring insignificant and conventional activities
  20    for practicing the idea, all of which are performed with general-purpose computers.
  21    See Claim Listing at 1. The system: (1) sends a webpage that causes a digital media
  22    presentation to be streamed (elements [a], [f]); (2) sends identifying data to the
  23    user’s computer to allow the timed user to be identified by the system (element [b]);
  24    (3) sends a timing applet to the user’s computer (element [c]); (4) receives
  25    identifying data from the user’s computer at periodic intervals (element [d]);
  26    (5) stores the received data, all of which together indicates how long the user
  27    viewed the digital media presentation (elements [e], [g], [h]). The use of webpages,
  28    streaming video, transmitting data, running an applet, receiving data, and storing
                                                   -8-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 15 of 33 Page ID #:411



   1    data: every one of these elements is a conventional computer activity or a routine
   2    data-gathering step and thus cannot constitute an inventive concept. OIP Techs.,
   3    Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1363 (Fed. Cir. 2015) (where claims
   4    recited “well-understood, routine conventional activit[ies],” either by requiring
   5    conventional computer activities or routine data-gathering steps … the claim
   6    elements fail “to ‘transform’ the claimed abstract idea into a patent-eligible
   7    application”) (citing Alice, 134 S. Ct at 2359, 2357). The transfer of data between
   8    computers to implement the abstract idea of timing elapsed media playback is
   9    simply not inventive. Ultramercial, 772 F.3d at 717 (“[T]he transfer of content
  10    between computers is merely what computers do and does not change the
  11    analysis.”).
  12          Notably, the ’609 patent concedes that the majority of its limitations are
  13    conventional. See, e.g., ’609 patent at 5:22-25 (streaming and downloading data to
  14    a webpage are conventional), 7:38-41 (multiple types of identifier data are known
  15    and conventional), 12:1-5 (streaming and downloading video is conventional).
  16    Storing data “indicative of an amount of time the digital media presentation data is
  17    streamed” (’609 patent at 14:40-45) is substantively similar to the “updating an
  18    activity log” step that the Federal Circuit held was an “insignificant data-gathering
  19    step . . . add[ing] nothing of practical significance to the underlying abstract idea”
  20    and thus non-inventive. Ultramercial, 772 F.3d at 716; see also Affinity Labs of
  21    Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253, 1262 (Fed. Cir. 2016) (generic storing
  22    and transmitting limitations did not provide an inventive concept). As for the
  23    timing “applet,” not only does the specification fail to describe it as inventive, but it
  24    fails to provide any direction as to how it would be implemented, simply assuming
  25    that the skilled artisan would already understand how to do so. See, e.g., ’609
  26    patent at 12:67-13:4 (“‘Applet,’ as used herein, generally refers to a software
  27    component that runs in the context of another program, in the case of page 900 of
  28    FIG. 9, a web browser. Such an applet may typically used [sic] to perform a
                                                    -9-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 16 of 33 Page ID #:412



   1    specific function or task, usually narrow in scope.”).
   2                       b.     Claims 2 & 3
   3          Claims 2 and 3 fare no better than Claim 1. Claim 2 adds to claim 1 the
   4    requirement that “storing comprises incrementing a stored value dependently upon
   5    the receiving.” “Incrementing” is nothing more than “adding” and is a
   6    fundamental, routine, and conventional operation whether performed by a human or
   7    a general-purpose computer. The claimed “incrementing” thus adds nothing non-
   8    abstract or non-conventional to the claim.
   9          Claim 3 then adds to claim 2 that “the received data is indicative of a
  10    temporal cycle passing.” The specification does not define a “temporal cycle,” but
  11    it does make clear that the timing applet can periodically send data to the server,
  12    after which “a value indicative of the number of cycles that have passed in database
  13    32 may be incremented each time the data is received.” ’609 patent at 13:36-42.
  14    Put simply, claim 3 allows for the generic timer to send periodic updates, after
  15    which the database increments the stored time value as in claim 2. This is nothing
  16    more than transmitting data and storing updated data, and it too is routine and
  17    conventional. Affinity Labs, 838 F.3d at 1262 (generic storing and transmitting
  18    limitations did not provide an inventive concept).
  19                 3.    Uniloc Has Failed to Plead Facts Sufficient to Defeat a
                           Motion to Dismiss the ’609 Patent
  20
              Uniloc fails as a matter of law to demonstrate the presence of anything
  21
        inventive in the claims of the ’609 patent. As discussed above, the claims focus on
  22
        measuring the elapsed time of a media presentation. But the patent has little to say
  23
        about solving any technological problems with measuring elapsed playback.
  24
        Rather, both the Complaint and the specification describe the problems posed by
  25
        prior art search engines, and suggest that the claims may provide some nebulous
  26
        advantages over them with puffery regarding “tabular tracking” and the recording
  27
        of advertising views. FAC ¶¶ 84-88. But the claims of the ’609 patent contain no
  28
                                                  -10-
                                                 NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 17 of 33 Page ID #:413



   1    search or retrieval functionality for the user. Compare FAC ¶ 86 (identifying
   2    search engine inability to use digital media tracking to update search results) and
   3    ’609 patent at 1:55-2:9 (Background of the Invention) with ’609 patent at 14:17-49
   4    (claims 1-3, which include no discussion of search functionality, let alone changes
   5    in search results based on tracking). Nor does the Complaint provide an
   6    explanation for the apparent non-sequitur of its connection of search engine
   7    indexing and language parsing with user tracking, or explain how tracking a user’s
   8    viewing of a presentation could affect a search engine’s results. FAC ¶¶ 85-86.
   9    Similarly, the Complaint describes the patent as providing a “technological solution
  10    to the problem” (FAC ¶ 88)—but the claim itself provides no technical solution or
  11    novel arrangement to solve any problem, instead relying on generic components
  12    performing their routine and conventional functions. See, e.g., ’609 patent at 4:33-
  13    35 (forms and/or content of a webpage can be “conventionally achieved in the
  14    pertinent arts”); 4:57-62 (a user may request a webpage from a server, and a server
  15    may provide a webpage, “in a conventional manner.”); 5:22-25 (a selected
  16    presentation can be streamed or downloaded to a webpage “in a conventional
  17    manner”); 7:38-41 (a user may be identified by “any of a number of known
  18    methodologies”); 12:1-5 (a webpage can be utilized to playback a selected
  19    presentation “in a conventional manner”). The same is true with respect to Uniloc’s
  20    emphasis of the specification’s sparse description of “tabular tracking” and the
  21    purported ability to record what ads a viewer watched or listened to, and for how
  22    long—the claims say nothing of such an ability. Even if the patent’s specification
  23    adequately disclosed an inventive concept in the specification—it does not—the
  24    failure of the claims to embody that concept is fatal. See, e.g., Two-Way Media Ltd.
  25    v. Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1338 (“The main problem that
  26    [patentee] cannot overcome is that the claim—as opposed to something purportedly
  27    described in the specification—is missing an inventive concept); see also Synopsys,
  28    Inc. v. Mentor Graphics Corp., 839 F.3d 1138, 1149 (Fed. Cir. 2016) (“The § 101
                                                  -11-
                                                 NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 18 of 33 Page ID #:414



   1    inquiry must focus on the language of the Asserted Claims themselves.”).
   2             Uniloc is attempting to manufacture a fact issue where none exists. Uniloc
   3    baldly asserts what “a person of ordinary skill in the art would understand”; for
   4    instance, Uniloc asserts that such a person would understand the advancement that a
   5    user can stream a presentation between different computers “from the same point
   6    no matter where the user left off”—but that is unrelated to the digital media
   7    tracking problems described in the patent. (FAC ¶ 91). Similarly, Uniloc asserts
   8    that a skilled artisan would understand that “that claim 1 of the ’609 patent is
   9    directed to a method for providing and tracking digital media presentations using a
  10    web page, identifier data and a timer applet originating at a first computer system to
  11    track and responsively stream a digital media presentation from a second computer
  12    system that can be viewed by a user at the user’s computer,” which it describes as
  13    “an inventive concept” without explaining why it is inventive (id.). These
  14    assertions should be given no weight, as they are conclusory statements with no
  15    factual support. Uniloc USA, 2018 WL 3008870, at *9 (conclusory statements that
  16    elements are not conventional need not be credited by the court). Regardless,
  17    patent eligibility is a question of law, and on the facts of this case a finding on
  18    ineligibility is proper. Voit Techs., LLC v. Del-Ton, Inc., No. 2018-1536, 2019 WL
  19    495163, at *1 (Fed. Cir. Feb. 8, 2019) (patent eligibility is a question of law that
  20    may or may not contain underlying issue of fact); see also Iqbal, 556 U.S. at 678;
  21    Fayer, 649 F.3d at 1064.
  22            B.     The ’229 Patent Claims Patent-Ineligible Subject Matter
  23            The ’229 patent relates to the field of encoding and decoding image data,
  24    which the Federal Circuit has deemed abstract. See RecogniCorp, LLC v. Nintendo
  25    Co., Ltd., 855 F.3d 1322, 1326 (Fed. Cir. 2017) (referring to “standard encoding
  26    and decoding” as “an abstract concept long utilized to transmit information”).2 The
  27
  28       2
               See also id. (“Morse code, ordering food at a fast food restaurant via a
                                                    -12-
                                                   NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 19 of 33 Page ID #:415



   1    ’229 patent is ineligible because it is directed to the abstract idea of chunking an
   2    image. A well-known technique, chunking involves grouping items into larger
   3    chunks and then dealing with them at the chunk level. It is a technique commonly
   4    used to reduce complexity by dealing with items at a higher level of abstraction. In
   5    the electoral college, for example, electoral votes are chunked by state, with the
   6    entire chunk (in most states) going to the candidate that won the state. Because the
   7    claims of the ’229 patent are directed to this abstract idea and lack anything
   8    inventive to transform them into patent-eligible subject matter, they are invalid
   9    under Section 101.
  10          In its scant description—the ’229 patent includes one figure which is a
  11    flowchart and about two columns describing the purported inventions, id. at 1:65-
  12    3:40—the patent explains that it relies on a “conventional” video encoding
  13    technique wherein background portions of a video are separated from foreground
  14    portions to allow the two portions to be encoded separately:
  15          One of conventional video compression techniques for reducing the
  16          size of information is an object-based coding technique, by which an
  17          image is divided into a back ground [sic] region and a foreground
  18          object region and each region is encoded separately. That is, the input
  19          image signal is divided into the background region having little motion
  20          and changes, and the foreground object region having large motion and
  21          changes, wherein the input image signal includes a plurality of video
  22          frames and each frame includes a multiplicity of macro-blocks, each
  23          macroblock having 16×16 pixels.
  24    ’229 patent at 1:21-37 (emphasis added).
  25          The ’229 patent describes a simple variation on this conventional
  26
  27
        numbering system, and Paul Reverse’s ‘one if by land, two if by sea’ signaling
  28    system all exemplify encoding at once end and decoding at the other end.”).
                                                   -13-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 20 of 33 Page ID #:416



   1    segmentation technique. Rather than dividing the image at the pixel level, the
   2    patent proposes chunking the image into blocks and then separating the blocks into
   3    foreground and background regions.
   4          Claim 1 of the ’229 patent is the only independent claim. See Claim Listing
   5    at 2. Though long, virtually everything in the claim describes the admittedly
   6    “conventional” background-foreground segmentation technique. See, e.g.,
   7    Ultramercial, 772 F.3d at 716 (“[E]ach of those eleven steps merely instructs the
   8    practitioner to implement the abstract idea with ‘routine, conventional activit[ies],’
   9    which is insufficient to transform the patent-ineligible abstract idea into patent-
  10    eligible subject matter.”) (citation omitted). The only purportedly inventive
  11    requirement is that segmentation be performed on “a macroblock-by-macroblock
  12    basis,” i.e., that image chunks rather than pixels be separated into background and
  13    foreground regions. Claim 1 is the only claim asserted or discussed in Uniloc’s
  14    complaint. FAC ¶¶ 49-51, 56-58, 62, 76.
  15                 1.     The ’229 Patent is Directed to an Abstract Idea
  16          The ’229 patent is directed to the abstract idea of chunking an image.
  17    Chunking portions that make up a whole is abstract. In addition to the electoral
  18    college, each member of congress represents a chunk of voters grouped into an
  19    electoral district. Tennis is scored by games and sets which are chunks of a match
  20    regardless of how many individual points were won or lost. The list goes on.
  21          The ’229 patent simply applies the widely used technique to images to
  22    simplify the processing of the image. The first limitation of claim 1 requires that
  23    background-foreground segmentation be done at a “macroblock-by-macroblock
  24    basis.” ’229 patent at 3:48-51. The specification states that segmentation is
  25    performed “not by pixel unit but by 16x16 pixels-sized macroblock unit.” Id. at
  26    2:5-6 (emphasis added); see also id. at 2:9-12 (at first step in “present invention”
  27    the “video is to be divided into an background region and a foreground object
  28    region by unit of macroblock”) (emphasis added). It is this block-level rather than
                                                   -14-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 21 of 33 Page ID #:417



   1    pixel-level segmentation that is the “focus of the claimed advance over the prior
   2    art.” Compare id. at 1:51-63 (critiquing pixel-level processing) with id. at 1:64-2:8
   3    (Summary of Invention: emphasizing block-level processing). See Affinity Labs v.
   4    DIRECTV, 838 F.3d at 1257 (“The ‘abstract idea’ step of the inquiry calls upon us
   5    to look at the ‘focus of the claimed advance over the prior art’ to determine if the
   6    claim’s ‘character as a whole’ is directed to excluded subject matter.”).
   7           Claim 1 of the ’229 patent is representative as the other claims are similar
   8    and directed to the same abstract idea. See Cleveland Clinic, 859 F.3d at 1360.
   9                     2.   The ’229 Patent Lacks an Inventive Concept
  10                          a.   Claim 1
  11           Whether considered individually or together, the steps of Claim 1 do not
  12    provide an inventive concept that transforms the abstract idea into a patent-eligible
  13    invention. Just the opposite: the claim recites steps that the patent acknowledges
  14    as “conventional” or “well-known techniques” to practice the abstract idea.
  15    Moreover, the claim not only permits but expressly requires using “known coding
  16    techniques” to perform certain steps. “Claim limitations that recite ‘conventional,
  17    routine and well understood applications in the art’ are insufficient to ‘supply an
  18    inventive concept.’” BSG Tech LLC, v. Buyseasons, Inc., 899 F.3d 1281, 1290
  19    (Fed. Cir. 2018); see also Mayo, 566 U.S. at 73 (addition of “well-understood,
  20    routine, conventional activity previously engaged in by researchers in the field” is
  21    insufficient).
  22           The first step of claim 1 (step ‘a’) is the segmentation step. The “Description
  23    of the Prior Art” section of the patent describes background-foreground
  24    segmentation as “conventional.” ’229 patent at 1:21-37. The patent also admits
  25    that “using a difference” to perform segmentation is “conventional”:
  26           A conventional region division technique divides the image signal in a
  27           pixel unit by use of temporal change information or spatial change
  28           information of the image signal. That is, the video is divided into a
                                                  -15-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 22 of 33 Page ID #:418



   1          plurality of the regions according to estimating the brightness-change
   2          in the pixel unit, thereby, each pixel is estimated as a back ground [sic]
   3          region or an object region.
   4    Id. at 1:41-48 (emphasis added).
   5          Although step ‘a’ requires segmentation to be performed on “a macroblock-
   6    by-macroblock basis,” this merely reflects the abstract idea of chunking, which
   7    cannot itself supply the inventive concept. See BSG Tech, 899 F.3d at 1290 (“It has
   8    been clear since Alice that a claimed invention’s use of the ineligible concept to
   9    which it is directed cannot supply the inventive concept that renders the invention
  10    ‘significantly more’ than that ineligible concept.”). Further, the patent describes
  11    macroblock-based segmentation techniques as “well-known”:
  12          An appropriate selection among the well-known techniques for such a
  13          region division technique is utilized, i.e., macroblock-based region
  14          division technique and a background mosaicking technique is utilized
  15          for the present invention.
  16    Id. at 2:49-53 (emphasis added). The notion that processing video data at the
  17    macroblock-level was “inventive” is further refuted by another patent asserted by
  18    Uniloc in this case—the ’005 patent, which has an earlier priority date and
  19    describes block-based encoding techniques as standardized. See, e.g., ’005 patent
  20    at 2:17-20 (“In general, the encoding of an MPEG video data stream requires a
  21    number of steps. The first of these steps consists of partitioning each picture into
  22    macroblocks.”). The standardized motion estimation techniques described in the
  23    ’005 patent are performed at the macroblock-level. Id. at 2:20-48; see also, e.g.,
  24    McKeever Decl., Ex. F (MPEG-1, 1993) at pg. v (“The algorithm then uses block-
  25    based motion compensation to reduce the temporal redundancy.”).
  26          Step ‘b’ expressly requires use of a “known coding technique” when
  27    generating shape information for the object (i.e., foreground) region. The patent’s
  28    discussion of “conventional” segmentation notes that it includes such shape coding.
                                                  -16-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 23 of 33 Page ID #:419



   1    ’229 patent at 1:34-37 (“In addition, shape information representing each divided
   2    region is separately coded and transmitted in order to reconstruct the image signal
   3    at a receive side.”).
   4           Step ‘c’ expressly requires “using a selected known coding technique” to
   5    encode the object (i.e., foreground) blocks. Again, the patent’s description of the
   6    well-known segmentation technique notes that it involves “conventional” coding of
   7    macroblocks. Id. at 1:31-34 (“Each divided region is coded by using a
   8    conventional macro block-based image coding technique, such as known discrete
   9    cosine transformation and quantization techniques.”) (emphasis added).
  10           Step ‘d’ and the “wherein …” clause that further qualifies that step address
  11    the encoding of the background region. Specifically, these elements require that
  12    background blocks are only encoded where the block is sufficiently different than
  13    the corresponding block in the previous frame. Otherwise, the block is not encoded
  14    and the block from the previous frame is “reuse[d].” This is merely a feature of the
  15    conventional segmentation approach. Indeed, the patent’s discussion of
  16    conventional segmentation explains that “the background region ha[s] little motion
  17    and changes, [whereas] the foreground object region ha[s] large motion and
  18    changes.” Id. at 1:25-28.
  19           Lastly, step ‘e’ requires generic “storing or transmitting” of the data
  20    produced by the previously recited steps which is clearly not inventive. See, e.g.,
  21    Affinity Labs v. DIRECTV, 838 F.3d at 1262 (generic storing and transmitting
  22    limitations did not provide an inventive concept); Two-Way Media, 874 F.3d at
  23    1340-41 (data transmission limitations merely required “conventional computer and
  24    network components operating according to their ordinary functions” and thus were
  25    not inventive); BuySAFE v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014)
  26    (“That a computer receives and sends the information over a network—with no
  27    further specification—is not even arguably inventive.”).
  28
                                                   -17-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 24 of 33 Page ID #:420



   1                 3.     Uniloc Fails to Plead Facts Sufficient to Defeat a Motion to
                            Dismiss the ’229 Patent
   2
              In the Complaint, Uniloc paraphrases many of the limitations in claim 1 and
   3
        asserts that they comprise an “inventive concept.” FAC ¶ 59. Simply labeling the
   4
        steps “inventive” does not make them so, and the Court should not credit this legal
   5
        conclusion couched as a factual allegation. Iqbal, 556 U.S. at 678; see also Uniloc
   6
        USA, 2018 WL 3008870, at *9 (rejecting conclusory allegations in complaint). As
   7
        discussed, the claims of the ’229 patent recite nothing more than the abstract idea of
   8
        chunking an image and conventional steps for performing segmentation using
   9
        “known coding techniques.”
  10
              Uniloc also alleges that the purported invention of the ’229 patent “lead[s] to
  11
        lower bit rates … and more efficient compression of video images, which is very
  12
        important in the storage and transmission of digital images.” FAC ¶ 56. But these
  13
        allegations are conclusory and unsupported. Nothing in the ’229 patent backs up
  14
        Uniloc’s assertion that the ultimate bitrate will be lower than with pixel-level
  15
        segmentation.
  16
              C.     The ’005 Patent Claims Patent-Ineligible Subject Matter
  17
              The ’005 patent relates to the field of encoding data which the Federal
  18
        Circuit deemed abstract in RecogniCorp. The ’005 patent is ineligible because it
  19
        attempts to claim the idea of concurrent motion estimation. Importantly, the ’005
  20
        patent does not purport to cover motion estimation itself, which it admits was well-
  21
        known and standardized. Concurrent motion estimation is abstract, however, and
  22
        Uniloc’s attempt to claim that idea regardless of how the idea is implemented is
  23
        impermissible. Patents are not awarded for abstract ideas untethered from a
  24
        concrete invention that actually achieves them. The claims of the ’005 patent add
  25
        nothing inventive to the abstract idea itself and are therefore ineligible.
  26
              Motion estimation is a well-known video compression technique that was
  27
        used for decades before the ’005 patent. ’005 patent at 1:40-55; 2:49-54. Indeed,
  28
                                                   -18-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 25 of 33 Page ID #:421



   1    the patent references “conventional methods of motion estimation.” Id. at 3:54.
   2    Motion estimation helps reduce the data required to represent a frame in a video by
   3    identifying similar portions from another frame for reuse. ’005 patent at 2:49-54.
   4    The technique involves comparing pixels in one picture “to those of a previously
   5    transmitted reference” picture to find a match. Id. at 1:45-51.
   6          In motion estimation, there are different “prediction modes” which
   7    correspond to different approaches for finding matches in a reference picture. Id. at
   8    3:7-24. The MPEG-2 standard defines six prediction modes. Id. at 3:7-9; 4:22-26.
   9    The ’005 patent admits that “[c]urrently known methods of motion coding allow the
  10    use of different prediction modes,” and that it is often possible to determine in
  11    advance which mode will produce the best match. Id. at 3:12-20. The patent asserts
  12    that sometimes the optimal prediction mode is not known, however, and trying
  13    multiple prediction modes is impractical because each one requires substantial time
  14    to try. Id. at 3:15-24. The ’005 patent proposes a simple but abstract solution—
  15    perform motion estimation for multiple prediction modes concurrently.
  16                 1.    The ’005 Patent is Directed to an Abstract Idea
  17          The ’005 claims are directed to the abstract idea of concurrent motion
  18    estimation. The ’005 patent’s purported “advance over the prior art” is not motion
  19    estimation which was known, but rather concurrent motion estimation. See Affinity
  20    Labs v. DIRECTV, 838 F.3d at 1257 (“The ‘abstract idea’ step of the inquiry calls
  21    upon us to look at the ‘focus of the claimed advance over the prior art’ to determine
  22    if the claim’s ‘character as a whole’ is directed to excluded subject matter.”). The
  23    motion estimation itself is secondary and preferably follows established standards.
  24    ’005 patent at Abstract (“In one embodiment, the method and device are capable of
  25    concurrently determining [sic] performing motion estimation in each of the six
  26    different possible prediction modes specified by the MPEG-2 standard.”).
  27          The abstractness of the ’005 claims is underscored by the absence of
  28    anything that restricts how the claimed concurrent motion estimation is achieved.
                                                  -19-
                                                 NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 26 of 33 Page ID #:422



   1    The ’005 patent claims the abstract idea of concurrent motion estimation as a result,
   2    rather than claiming a particular means of achieving that result. See Two-Way
   3    Media, 874 F.3d at 1329 (“Under Alice step one, … [w]e look to whether the claims
   4    in the patent focus on a specific means or method, or are instead directed to a result
   5    or effect that itself is the abstract idea and merely invokes generic processes and
   6    machinery.”) (citation omitted); Elec. Power Grp., 830 F.3d at 1356 (noting the
   7    “important common-sense distinction between ends sought and particular means of
   8    achieving them, between desired results (functions) and particular ways of
   9    achieving (performing) them”).
  10          In Interval Licensing LLC v. AOL, Inc., the Federal Circuit recently affirmed
  11    an order granting judgment on the pleadings where the claims-at-issue were
  12    similarly directed to an idea rather than a concrete solution. 896 F.3d 1335 (Fed.
  13    Cir. 2018). There, the patent claimed “an attention manager [that] makes use of
  14    ‘unused capacity’ of a display device, by displaying content in that unused
  15    capacity.” Id. at 1338 (citing patent) (internal quotation marks omitted). At Alice
  16    step one, the court noted that “[s]tanding alone, the act of providing someone an
  17    additional set of information without disrupting the ongoing provision of an initial
  18    set of information is an abstract idea.” Id. at 1344. The court mentioned the
  19    familiar example of a breaking news ticker on the bottom of a television screen. Id.
  20    That the claims recited an “attention manager” did not make them non-abstract
  21    where the term “simply demands the production of a desired result (non-interfering
  22    display of two information sets) without any limitation on how to produce that
  23    result.” Id. at 1345. The court deemed the claim abstract in part because “the claim
  24    in effect encompasses all solutions” for producing the abstract result. Id.
  25          Similarly, in Affinity Labs v. DIRECTV, the Federal Circuit affirmed
  26    dismissal of a patent with claims directed to the abstract “concept of providing out-
  27    of-region access to regional broadcast content.” 838 F.3d at 1258. The court noted
  28    traditional practices such as mailing local newspapers to other areas or using
                                                  -20-
                                                 NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 27 of 33 Page ID #:423



   1    satellites to broadcast sporting events. Id. Just as in Interval Licensing, the court
   2    emphasized that the claims were directed to the idea rather than a concrete solution
   3    that achieved the idea. Id. Although the abstract idea could “be implemented in
   4    myriad ways[,]” the court found “nothing in claim 1 that is directed to how to
   5    implement out-of-region broadcasting on a cellular telephone. Rather, the claim is
   6    drawn to the idea itself.” Id. at 1258 (emphasis added); see also id. at 1262 (“[The
   7    patent] claims the general concept of out-of-region delivery of broadcast content
   8    …, without offering any technological means of effecting that concept.”).
   9          The ’005 claims—for example, claim 41—are similarly result-oriented and
  10    abstract. See Claim Listing at 3. The first step of claim 41 generically recites the
  11    bare, abstract idea of “concurrently performing motion estimation.” Nothing limits
  12    how concurrent motion estimation is achieved. The other steps simply recite
  13    selecting and using the best match identified by the concurrent motion estimation
  14    step. “Instead of claiming a solution for producing [concurrent motion estimation],
  15    the claim in effect encompasses all solutions.” Interval Licensing, 896 F.3d at
  16    1345. The claim “is untethered to any specific or concrete way of implementing”
  17    concurrent motion estimation. Affinity Labs v. DIRECTV, 838 F.3d at 1258; see
  18    also Clarilogic, Inc. v. FormFree Holdings Corp., 681 F. App'x 950, 954 (Fed. Cir.
  19    2017) (“[A] method for collection, analysis, and generation of information reports,
  20    where the claims are not limited to how the collected information is analyzed or
  21    reformed, is the height of abstraction.”) (emphasis added).
  22                 2.     The ’005 Patent Lacks an Inventive Concept
  23          Where a claim is directed to an abstract idea, it must include an “inventive
  24    concept, i.e., an element or combination of elements that is sufficient to ensure that
  25    the patent in practice amounts to significantly more than a patent upon the [abstract
  26    idea] itself.” Alice, 573 U.S. at 217 (quoting Mayo, 566 U.S. at 72-73) (internal
  27    quotation marks omitted). The ’005 claims include no such inventive concept.
  28
                                                   -21-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 28 of 33 Page ID #:424



   1                        a.     Claim 41
   2           Claim 41 recites four steps, the first of which recites the abstract idea itself—
   3    concurrent motion estimation.3 The abstract idea itself cannot supply the inventive
   4    concept, however. See BSG Tech, 899 F.3d at 1290 (Fed. Cir. 2018) (“It has been
   5    clear since Alice that a claimed invention’s use of the ineligible concept to which it
   6    is directed cannot supply the inventive concept that renders the invention
   7    ‘significantly more’ than that ineligible concept.”).
   8           Although the abstract idea here involves motion estimation, motion
   9    estimation was routine and conventional when the patent was filed. Indeed, Uniloc
  10    acknowledges that motion estimation was standardized via MPEG-1 and MPEG-2
  11    which the ’005 patent describes as the “most widely accepted international
  12    standards” related to video coding and which are incorporated by reference into the
  13    patent specification. FAC ¶¶ 20-21; ’005 patent at 1:21-19; see also, e.g.,
  14    McKeever Decl., Ex. F (MPEG-1 standard) at pgs. 78-85, Ex. G (MPEG-2
  15    standard) at pgs. 73-87 (both describing motion estimation). Claim 41 would cover
  16    performing two strictly conventional modes of motion estimation as long as they
  17    were performed concurrently. Claim 42, which depends from claim 41, specifies
  18    that “the prediction modes include at least a plurality of the prediction modes
  19    specified in the MPEG-2 standard.” Performing motion estimation in accord with
  20    “the most widely accepted” video coding standard is not inventive. See Mayo, 566
  21    U.S. at 73 (“well-understood, routine, conventional activity previously engaged in
  22    by researchers in the field” does not provide “inventive concept”).
  23           The three remaining steps of claim 41 are each conventional and simply
  24    describe selecting and using the best result obtained via concurrent motion
  25
  26       3
             Motion estimation is also abstract. The Federal Circuit has “treated analyzing
  27    information by steps people go through in their minds, or by mathematical
        algorithms, without more, as essentially mental processes within the abstract-idea
  28    category.” Elec. Power Grp., 830 F.3d at 1354.
                                                   -22-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 29 of 33 Page ID #:425



   1    estimation. The “comparing” and “selecting” steps require comparing the results
   2    (i.e., the matches) produced by different prediction modes and selecting the best
   3    match. Conventional motion estimation for a single prediction mode involves the
   4    same comparing and selecting steps. See ’005 patent at 2:54-67 (error metrics for
   5    each possible match are compared and match with the lowest value is selected).
   6    Such conventional comparison and selection are insufficient to transform make the
   7    claim patent-eligible. The “generating” step is also routine as the motion vector is
   8    simply derived from the location of the best match just as in conventional motion
   9    estimation. Id. at 2:64-3:4 (the “horizontal and vertical positions [of the best
  10    match] relative to the current macroblock … constitute the motion vector”); see
  11    also id. at 2:28-31 (noting that the “motion vector(s) … corresponds to the position
  12    of the closest-matching macroblock … in the anchor picture(s)”). “[S]imply
  13    appending conventional steps, specified at a high level of generality, to … abstract
  14    ideas cannot make those … ideas patentable.” Mayo, 566 U.S. at 82; accord.
  15    Ultramercial, 772 F.3d at 716.
  16                        b.    Claim 1
  17          The discussion above focused on claim 41 which is representative. Other
  18    claims are similar and linked to the same abstract idea of concurrent motion
  19    estimation. See Cleveland Clinic, 859 F.3d at 1360. For example, Uniloc’s
  20    complaint asserts claim 1 which is substantially similar to claim 41. See Claim
  21    Listing at 3. Just like claim 41, claim 1 recites the idea of “concurrently performing
  22    motion estimation ….” Although the “comparing …” step in claim 1 recites some
  23    additional language about comparing pixels, that language is redundant because it
  24    just describes how to perform conventional motion estimation by making
  25    comparisons between arrays of pixels:
  26          For all MPEG-2 prediction modes, the fundamental technique of
  27          motion estimation consists of comparing the current macroblock with a
  28          given 16-by-16 pixel array in the anchor picture, estimating the quality
                                                  -23-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 30 of 33 Page ID #:426



   1           of the match according to the specified metric, and repeating this
   2           procedure for every such 16-by-16 pixel array located within the
   3           search range.
   4    ’005 patent at 2:49-54.
   5           Just as in claim 41, the remaining steps in claim 1 amount to picking the best
   6    matching block and generating a motion vector for it, both of which are steps
   7    performed during conventional motion estimation. See id. at 2:64-3:1.
   8                  3.     Uniloc Fails to Plead Facts Sufficient to Defeat a Motion to
                             Dismiss the ’005 Patent
   9
               Uniloc again falls short in its efforts to manufacture a factual dispute in
  10
        hopes of surviving a motion to dismiss. First, Uniloc suggests that concurrent
  11
        motion estimation is itself the inventive concept. FAC ¶ 30. But concurrent motion
  12
        estimation is the abstract idea, and therefore cannot by definition supply the
  13
        inventive concept. See BSG Tech, 899 F.3d at 1290. Further, concurrent motion
  14
        estimation cannot provide the inventive concept here where the claims do not even
  15
        specify how concurrent motion estimation is achieved. “[W]hen a claim directed to
  16
        an abstract idea ‘contains no restriction on how the result is accomplished … [and]
  17
        [t]he mechanism … is not described, although this is stated to be the essential
  18
        invention[,]’ then the claim is not patent-eligible.” Intellectual Ventures I LLC v.
  19
        Symantec Corp., 838 F.3d 1307, 1316 (Fed. Cir. 2016) (citation omitted).
  20
               To the extent Uniloc means to suggest that the idea of “concurrent motion
  21
        estimation” was new or nonobvious at the time the ’005 patent was filed, that point,
  22
        even if true, is irrelevant:
  23
               We may assume that the techniques claimed are “[g]roundbreaking,
  24
               innovative, or even brilliant,” but that is not enough for eligibility. …
  25
               The claims here are ineligible because their innovation is an innovation
  26
               in ineligible subject matter. … [T]he advance lies entirely in the realm
  27
               of abstract ideas, with no plausibly alleged innovation in the non-abstract
  28
                                                   -24-
                                                  NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 31 of 33 Page ID #:427



   1          application realm. An advance of that nature is ineligible for patenting.
   2    SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1163 (Fed. Cir. 2018).
   3          Uniloc also repeatedly alleges that the purportedly inventive solution of the
   4    ’005 patent “is simpler, faster, and less expensive than prior art technology.” FAC
   5    at ¶¶ 14, 29, 30. As an initial matter, the Court need not credit such conclusory
   6    allegations. See, e.g., Uniloc USA, 2018 WL 3008870 at *9. Moreover, because
   7    the ’005 claims recite only the result of concurrent motion estimation as opposed to
   8    a specific method for achieving that result, the claims do not ensure that the
   9    patented method will be simpler, faster, or less expensive. The claims would cover
  10    a very complex, very slow, and very expensive approach as long as it achieved
  11    concurrent motion estimation.
  12          Finally, Uniloc implies that determining the optimum prediction mode during
  13    motion estimation is inventive. See, e.g., FAC at 25 (“concurrently determining the
  14    optimal prediction mode while performing motion estimation”). On the contrary,
  15    comparing results produced by different prediction modes to determine the
  16    optimum prediction mode was routine. Indeed, Uniloc acknowledges it was known
  17    that different prediction modes could be run in sequence and then the results simply
  18    compared to identify the optimum prediction mode. FAC ¶¶ 23-24; see also, e.g.,
  19    McKeever Decl., Ex. F (MPEG-1, 1993) at pg. 101-102 (Section “D.6.5.3.1
  20    Selecting motion-compensation mode”, describing picking “the best of the three
  21    possible prediction modes” based on the one that generated the least error). The
  22    ’005 patent merely adds the abstract idea of doing the motion estimation
  23    concurrently and regardless of how concurrency is achieved.
  24    V.    CONCLUSION
  25          Because the claims of the patents-in-suit fail both steps of the Alice
  26    framework, Netflix respectfully requests that the Court dismiss Uniloc’s Complaint
  27    with prejudice.
  28
                                                  -25-
                                                 NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 32 of 33 Page ID #:428



   1
   2   DATED: March 18, 2019                PERKINS COIE LLP
   3
                                            By: /s/ Patrick J. McKeever
   4                                           Patrick J. McKeever
   5                                            Attorneys for Defendant
                                                NETFLIX, INC.
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                             -26-
                                            NOTICE OF MOTION AND MOTION TO DISMISS FAC
Case 8:18-cv-02055-JVS-DFM Document 32 Filed 03/18/19 Page 33 of 33 Page ID #:429



   1                             CERTIFICATE OF SERVICE
   2          The undersigned hereby certifies that a true and correct copy of the above
   3    and foregoing document has been served on March 18, 2019 to all counsel of record
   4    who are deemed to have consented to electronic service via the Court’s CM/ECF
   5    system.
   6          Any other counsel of record will be served by electronic mail.
   7
   8                                         By: /s/ Patrick J. McKeever
                                                Patrick J. McKeever
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                -27-
                                                NOTICE OF MOTION AND MOTION TO DISMISS FAC
